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                 EXHIBIT B-125
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                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA


IN RE 2 lVIAY2022 SPECIALPURPOSE
GRANDJURY                                            2022-EX-000024




                            ORDERSEALINGATIACHMENTS
         The enclosed attachments are. referenced in n.4 on page 4 of the Com-:t's30 •
                       \.


November 2022 Order
               .    ruling on the District Attorney's motion to disqualify certain
                                                                        .




lm,ryersfrom ·collectivelyrepresenting a group of eleven targets of the District Attorney's

investigation into criminal interference with the 2020 general election in Georgia. The

enclosed.·.documents are legally privileged materials that contain confidential and

protected communications between the referenced lawyers and their clients. The Court

specifically finds that the harm that would result from disclosure of the enclosed
     ,          .
documents to the privacy and confidential legal representation interests of the eleven

targets clearly outweighs-the public's interest in the substance of the enclosed documents.

It is therefore proper for the documents to be sealed pursuant to Uniform Superior Court

Rule 21.2.: •

         SO ORDERED this 30th day of November 2022.
                                      "




                                                  udge R,obe C.I. Mc~-•-u~Y
                                                 Superior Court of Fulton County
                                                 Atlanta Judicial Circuit




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